WILLIAM P. BARR
Attorney General
ROBERT S. BREWER, JR.
United States Attorney
MICHAEL G. WHEAT, CBN 118598
JOSEPH J.M. ORABONA, CBN 223317
JANAKI S. GANDHI, CBN 272246
COLIN M. MCDONALD, CBN 286561
Special Attorneys to the Attorney General
United States Attorney’s Office
880 Front Street, Room 6293
San Diego, CA 92101
619-546-8437/7951/8817/9144
michael.wheat@usdoj.gov

Attorneys for the United States

                  UNITED STATES DISTRICT COURT
                             DISTRICT OF HAWAII

                                            CR. NO. 17-00582 JMS-RLP
UNITED STATES OF AMERICA,
                                            UNITED STATES’ MOTION IN
                        Plaintiff,          LIMINE TO ADMIT SUMMARY
            v.                              AND PEDAGOGICAL CHARTS;
                                            NOTICE OF WITNESS
KATHERINE P. KEALOHA (1),
LOUIS M. KEALOHA (2),                       Trial Date: June 17, 2019
DEREK WAYNE HAHN (3),                       Time: 8:30 a.m.
MINH-HUNG NGUYEN (4),
GORDON SHIRAISHI (5),                       Hon. J. Michael Seabright

                       Defendants.



      The United States, through its counsel, Robert S. Brewer, Jr., United States

Attorney, and Michael G. Wheat, Joseph J.M. Orabona, Janaki S. Gandhi, and Colin

M. McDonald, Special Attorneys to the Attorney General, hereby files its Motion in

Limine to Admit Summary and Pedagogical Charts and Notice of Witness.
                                            I

                MEMORANDUM OF POINTS & AUTHORITIES

      The United States has prepared and provided to the defense counsel twenty

charts and summaries of voluminous financial records related to this case (Ex. 36-1

through 36-20).1 At trial, the United States intends to offer twelve of these charts

into evidence, in accordance with Fed. R. Evid. 1006 and 611(a). These charts focus

largely on the joint bank account held by Florence Puana and Katherine Kealoha

(“the 1502 Account”), the purchase of the Greenwood condo, Gerard Puana’s

income and payments of “mortgage” and maintenance fees to Katherine Kealoha,

and relevant financial records of Katherine and Louis Kealoha during the period

between January 1, 2009 and December 31, 2014 (hereinafter the “relevant period”).

There is no dispute as to the foundation for these exhibits as all business records

have been previously produced to defense counsel in discovery and such records are

otherwise admissible into evidence. Moreover, as FBI Forensic Accountant Laurice

Otsuka’s testimony will confirm, the summary charts are based on voluminous

financial records. The apparent issue before the Court is whether the summary charts

are relevant in this case. 2 The United States contends they are relevant.


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      The United States has provided updated charts to defense counsel. While the
Court has the near-final charts in its exhibit binders, the United States will file under
seal with the Court the updated charts.
2
      The United States met and conferred with defense counsel in order to limit the
number of charts brought to the Court’s attention in this motion. However, the
defense informed the United States that they object to all of the United States’ charts.
                                            2
      1.     FBI Forensic Accountant Will Provide Lay Testimony

      During the meet and confer, defense counsel informed the United States that

they intend to object to the testimony of FBI Forensic Accountant Laurice Otsuka as

expert testimony – despite the Court overruling this objection during the motions in

limine hearing in May 2019. As stated previously, the district court does not need

to certify the forensic accountant as an expert to testify as to the methods used to

prepare the summary charts and to testify as to the content of the financial

information she summarized from her review of the voluminous records. See United

States v. Aubrey, 800 F.3d 1115, 1129 (9th Cir. 2015). In Aubrey, the defendant

claimed that the district court was required to certify the HUD auditor as an expert

because of his use of the accounting method “last-in-first-out” in preparing his

summary charts. Id. at 1129. The district court disagreed and found that the

testimony was lay opinion testimony under Rule 701 because it was based upon the

auditor’s personal knowledge and investigation. Id. In addition, the district court

noted that the auditor was subject to cross-examination as to the content of his charts.

Id. The district court restricted the testimony of the auditor to the areas in which he

had personal knowledge (the documents, his investigation, and the methods he used

to prepare his summary charts) and prevented him from providing an in-depth

analysis of various accounting methods. Id. Although the auditor made two passing

references to the “last-in-first-out” method, the Ninth Circuit held that was

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insufficient to require the district court to certify him as an expert witness. Id.

(quoting Teen-Ed, Inc. v. Kimball Int’l, Inc., 620 F.2d 399, 403 (3d Cir. 1980) (“the

fact that Zeitz might have been able to qualify as an expert witness on the use of

accepted accounting principles in the calculation of business losses should not have

prevented his testifying on the basis of his knowledge of appellant’s records about

hose lost profits could be calculated from the data contained therein.”).

      Similar to the auditor in Aubrey, FBI Forensic Accountant Laurice Otsuka will

testify based upon her personal knowledge of the facts contained in the voluminous

financial records which she analyzed in this case. Such personal knowledge

includes her investigation and tracing of funds through the accounts summarized in

her charts. Ms. Otsuka will testify about her own personal investigation in her

capacity as the FBI Forensic Accountant in accordance with Federal Rule of

Evidence 701. Based upon her training and experience, Ms. Otsuka will also

explain accounting and finance terms. These terms are within her personal

knowledge as a forensic accountant for more than seven years, a manager and vice-

president of several banks for approximately six years, a controller and accounting

director for approximately eight years, a mortgage loan officer for approximately

three years, and a tax auditor for approximately five years. Ms. Otsuka has been a

Certified Public Accountant (CPA) for approximately thirty years. As such, she is

qualified to provide lay opinion testimony concerning the financial information

summarized in her charts.

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       2.    Relevance and Admissibility of the Summary Charts

       Under Rule 401, relevant evidence is that “having any tendency to make the

existence of any fact that is of consequence to the determination of the action more

probable or less probable than it would be without the evidence.” Fed. R. Evid. 401.

This is a “low bar.” United States v. Lloyd, 807 F.3d 1128, 1152 n.6 (9th Cir. 2015)

(quoting United States v. Cloud, 680 F.3d 396, 402 (4th Cir. 2012)). “To be

‘relevant,’ evidence need not be conclusive proof of a fact sought to be proved, or

even strong evidence of the same.” United States v. Curtin, 489 F.3d 935, 943

(9th Cir. 2007) (en banc). All that is required is a “tendency” to establish a fact at

issue. Id.

Rule 1006 of the Federal Rules of Evidence states that:

       The proponent may use a summary, chart, or calculation to prove the
       content of voluminous writings, recordings, or photographs that cannot
       be conveniently examined in court. The proponent must make the
       originals or duplicates available for examination or copying, or both,
       by other parties at a reasonable time and place. And the court may order
       the proponent to produce them in court.

Fed. R. Evid. 1006.

       The purpose of Rule 1006 “is to allow the use of summaries when the

documents are unmanageable or when the summaries would be useful to the judge

and jury.” United States v. Rizk, 660 F.3d 1125, 1130 (9th Cir. 2011) (citation

omitted). The party offering the summary into evidence must establish that the

“underlying materials upon which the summary is based (1) are admissible in


                                          5
evidence and (2) were made available to the opposing party for inspection.” Id.

(citing Amarel v. Connell, 102 F.3d 1494, 1516 (9th Cir. 1996)). The underlying

materials “must be admissible, but need not themselves be admitted into evidence.”

Id. (citing United States v. Meyers, 847 F.2d 1408, 1412 (9th Cir. 1988)). The

district court is within its discretion to admit both the summary chart and underlying

records into evidence, especially where the jury would have a difficult time

calculating the inflows and outflows of an account and the bank records have

additional probative value which is not captured in the chart. See United States v.

Anekwu, 695 F.3d 967, 981-82 (9th Cir. 2012).

      The Ninth Circuit has repeatedly approved of the use of Rule 1006 summaries,

particularly where, as here, the summaries will aid in organizing the information

contained in a large number of documents into understandable form. See, e.g.,

Anekwu, 695 F.3d at 981-82 (testimony concerning summaries of voluminous bank

records); Goldberg v. United States, 789 F.2d 1341, 1343 (9th Cir. 1986) (testimony

concerning summaries of voluminous tax records permitted); United States v.

Shirley, 884 F.2d 1130, 1133 (9th Cir. 1989) (summary charts of telephone calls

permitted to help jury organize and evaluate evidence); Keith v. Volpe, 858 F.2d 467,

479-80 (9th Cir. 1988) (summaries necessary to clearly present relevant facts in

United States agency files).




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      The following summary charts are admissible under Rules 401 and 1006: 3

      •    Ex. 36-1: List of Financial Accounts of Katherine and Louis Kealoha

           from January 1, 2009 – December 31, 2014.

            o    This summary chart is relevant as it provides a list of checking and

                 saving accounts, loans, and credit cards to refute the statement

                 made by Katherine Kealoha to USPIS Special Agent Brian

                 Shaughnessy while preparing for trial in 2014 that she had only

                 one bank account, one credit card, and one mortgage. This chart

                 shows that Katherine and Louis Kealoha had 15 bank accounts and

                 13 loans and credit cards in 2014.

      •    Ex. 36-2: Chronological History of the 1502 Account

            o      This summary is relevant as it details the chronological history

                   of the deposits and withdrawals from the 1502 account where the


3
      Summaries and charts may also be used at trial as pedagogical devices. Fed.
R. Evid. 611(a). Rule 611(a) permits the use of charts and summaries of testimony
and documents already admitted into evidence as testimonial aids. See United States
v. Olano, 62 F.3d 1180, 1203 (9th Cir. 1995). The district court has discretion to
admit pedagogical summaries into evidence and to submit them to the jury during
deliberations accompanied by a limiting instruction. See United States v. Aubrey,
800 F.3d 1115, 1130-31 (9th Cir. 2015) (citing United States v. Anekwu, 695 F.3d
967, 981-82 (9th Cir. 2012). The Ninth Circuit has found no abuse of discretion
where summary charts were admitted in evidence. United States v. Gardner, 611
F.2d 770, 776 (9th Cir. 1980) (tax evasion); United States v. Johnson, 460 F.2d 20,
22 (9th Cir. 1972) (per curiam) (holding that the trial court did not err when it
admitted chart which “simply summarized a series of exhibits which had been
previously introduced into evidence without objection”); see also Ninth Circuit
Model Jury Instruction No. 4.16 (2015).
                                         7
           reverse mortgage funds were deposited and spent. This chart is

           chronological by date, as provided on the bank statements,

           starting on February 27, 2009 and continuing up to the closing

           date of January 24, 2013.

     o     This summary is also relevant because it shows the funds from

           the reverse mortgage were depleted by April 19, 2010, and

           afterward, the deposits made into the account primarily came

           from Gerard K. Puana from June 2010 through October 2012.

•   Ex. 36-3: The Sources and Uses of Funds from the 1502 Account

     o     This chart is relevant as it summarizes the financial information

           in the 1502 account by the sources of funds deposited into the

           account versus the uses of funds.      It shows that a total of

           approximately $540,000 was deposited into the 1502 account,

           primarily from the reverse mortgage of $513,000. It also shows

           that a total of approximately $540,000 was spent on various

           items, such as the Greenwood condo, Sheraton Waikiki,

           Mercedes Benz, Elton John tickets, Maserati, Disneyland, and

           other personal items. This chart shows that funds used from the

           account were not spent to consolidate debt or obtain a second

           mortgage on the Kealaolu residence.



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•   Ex. 36-4: The Bank Statement Mailing Addresses for the 1502 Account

     o     This chart is relevant because it summarizes the mailing

           addresses from each of the bank statements for the 1502 account

           from inception in 2009 through closing in 2013. The chart shows

           that initial mailing address was 1018 Kealaolu from March 2009

           through August 2011.      The mailing address for the bank

           statements was changed to 4348 Waialae Avenue, #234 (P.O.

           Box) from September 2011 through January 2013.

•   Ex. 36-5: Cash and Cashier’s Check Withdrawals from the 1502 Account

     o     These schedules are relevant to show some of the tracing of the

           $59,000 in cash taken out of the 1502 Account by Katherine

           Kealoha and spent on various personal items. For example,

           Schedule A shows that Katherine Kealoha took funds from the

           reverse mortgage and used them to pay Gerard Puana his alleged

           investment return from the hui. Also, Schedule B shows that

           Katherine Kealoha used the reverse mortgage funds as a down

           payment for a Maserati.

     o     The schedules and flow charts trace the funds from the reverse

           mortgage and show that the funds were spent by Katherine

           Kealoha, and not Florence Puana. The schedules also show that

           the reverse mortgage funds were not used by Katherine Kealoha
                                9
           to consolidate her and Louis Kealoha’s debts; but rather, to incur

           new debts and make new purchases.

•   Ex. 36-6: Reverse Mortgage Proceeds and Greenwood Purchase

     o     This chart is relevant to show a summary of the escrow proceeds

           and costs for the Greenwood condo purchase. It accounts for

           $15,800 owed to Katherine Kealoha for prepaid rent on the

           Greenwood condo (which is detailed in Ex. 36-7).

     o     The chart underneath the escrow proceeds and costs shows that

           the net proceeds of approximately $153,000 (which ties to the

           above escrow analysis) was used by Katherine Kealoha on

           cash/cashier’s checks and personal expenses.

•   Ex. 36-7: Total Owed to Katherine Kealoha from Greenwood Purchase

     o     This chart is relevant to show the amount of prepaid rent

           deposited into the escrow account by Katherine Kealoha between

           February 2009 and July 2009, totaling $15,800. It also accounts

           for the initial deposit made by Katherine Kealoha of $1,000 upon

           opening the 1502 Account. Lastly, although it has been disputed,

           the chart conservatively gives credit of approximately $1,100

           paid by Katherine Kealoha for furniture that may have been

           provided to furnish the Greenwood condo.



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            o     This chart also shows that Katherine Kealoha is only due a

                  reimbursement of $17,910.60 from the Greenwood purchase; not

                  the $83,000 that Katherine Kealoha claimed and stated in the tax

                  affidavit that she drafted for Florence Puana (and which was

                  admitted as Defense Exhibit 1022 over the United States’ objection).

      •   Ex. 36-8: Comparison between Greenwood Reports and 1502 Account

            o     This chart is relevant to show the difference between what

                  Katherine Kealoha was paying to Greenwood for the condo

                  expenses and what Gerard Puana was paying to Katherine

                  Kealoha for his alleged mortgage and maintenance fees.

      •   Ex. 36-9: Gerard Puana Income from Workers’ Compensation

            o     This chart is relevant to show the amount of monthly income

                  Gerard Puana’s received in workers’ compensation from the

                  Department of Labor. This chart corroborates how Gerard Puana

                  was able to “invest” substantial funds in Katherine Kealoha’s

                  investment hui. 4 It also defines the source of the money he used

                  to pay the alleged mortgage and maintenance fees to Katherine

                  Kealoha for the Greenwood condo.


4
       On cross examination, defense counsel questioned how Gerard Puana—
unemployed and residing with his mother—could possibly have access to the
amount of money he claimed he gave over to Katherine Kealoha. Exhibit 36-9 makes
clear Gerard Puana brought in sufficient money to support his claims.
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•   Ex. 36-11: Greenwood Commission of $7,000

     o     Terry Ewart previously testified that she gave Katherine Kealoha

           a portion of her commission ($7,000) for the Greenwood condo

           purchase. Ewart then testified that Katherine Kealoha returned

           the $7,000 to her, not wanting to take any of her grandmother’s

           money. Exhibit 36-11 traces the flow of the $7,000. Specifically,

           the chart shows (1) that Katherine Kealoha deposited the $7,000

           from Ewart into Kealoha’s personal bank account, and (2)

           thereafter, Katherine Kealoha took funds from the reverse

           mortgage in the 1502 Account (i.e., belonging to Florence Puana)

           and allegedly “returned” the $7,000 commission to Terry Ewart.

•   Ex. 36-14: The Sources and Uses of Funds by Katherine and Louis Kealoha

    (combined all accounts) from January 1, 2009 to December 31, 2014

     o     This summary chart is relevant to compare the sources and uses

           of funds without accounting for approximately $139,000 in net

           proceeds from the reverse mortgage. This chart shows that the

           total amount of disbursements exceeds the other sources by

           approximately $139,000 – which was used to fund personal

           expenses as previously described.

     o     This summary chart also accounts for the comparison on a year-

           by-year basis as the reverse mortgage funds were spent. It also
                                 12
                       shows that the Kealoha’s were living beyond their means and

                       their legitimate sources of income.

         •     Ex. 36-18: Louis and Katherine Kealoha’s Second Mortgage

                 o     This summary chart traces the flow of funds from the second

                       mortgage obtained by Louis and Katherine Kealoha on their

                       Kealaolu residence in July 2012. The chart is relevant to show

                       the timing of the second mortgage, which is three years after the

                       reverse mortgage funded and is two months before the

                       correspondence between Florence Puana and Katherine Kealoha

                       (Exhibits 1-9 and 1-10).

         3.      Other Charts

         The United States does not intend to use the following summary charts during

    the direct examination of Ms. Otsuka, unless made otherwise relevant during cross-

    examination of Ms. Otsuka:5

              • Ex. 36-10: The Verification of Assets in Gerard K. Puana’s Purported

                 Revocable Trust

              • Ex. 36-12: Gerard Puana’s Investments and Returns from Katherine

                 Kealoha’s Arbonne Account



5
      The United States reserves the right to request the Court’s review and
admission of these charts should they become relevant during or after the
defendants’ cases-in-chief.
                                     13
           • Ex. 36-13: Summary of Katherine Kealoha’s Arbonne Account

           • Ex. 36-15: Summary of Katherine and Louis Kealoha’s American

             Savings Bank Account

           • Ex. 36-16: Summary of Katherine and Louis Kealoha’s Hawaii USA

             FCU Account

           • Ex. 36-17: Summary Chart of Katherine Kealoha’s First Hawaiian

             Bank Account

           • Ex. 36-19: Summary of Katherine Kealoha’s Bank of Hawaii Acocunt

             for the OEQC

           • Ex. 36-20: Summary of Katherine Kealoha’s Bank of Hawaii dba

             Arbonne Account

      4.     Workers’ Compensation is Nontaxable Income

      During the cross-examination of Gerard K. Puana on June 5, 2019, defense

counsel questioned whether Mr. Puana had filed tax returns reporting his workers’

compensation income. Mr. Puana responded that he had not filed tax returns. This

testimony has left the jury with the misimpression that Mr. Puana was required to

file tax returns and report the gross income he earned from workers’ compensation.

However, under the 26 U.S.C. § 104(a)(1) and 26 C.F.R. § 1.104-1(b), amounts

received under workers’ compensation are excluded from gross income and are

nontaxable. As such, to correct this misimpression, the United States hereby

provides notice of its intent to have As such, to correct this misimpression, the
                                       14
United States hereby provides notice of its intent to have IRS Special Agent Mark

MacPherson testify to the fact that workers’ compensation is nontaxable, and thus

not reported on a tax return. In addition, Special Agent MacPherson will testify to

the fact that a person whose sole income is from nontaxable workers’ compensation

does not have to file a tax return. Special Agent MacPherson may also testify that

the “tax clarification affidavit” admitted over the United States’ objection as Defense

Exhibit 1022 is not a usual tax document (indeed, SA MacPherson has never seen

such a document), and that the information contained with Defense Exhibit 1022 is

inconsequential to any possible tax issues. These facts do not constitute expert

testimony. They are simply facts known by Special Agent MacPherson as part of his

work with the Internal Revenue Service.


Respectfully submitted,


Dated: June 12, 2019                    WILLIAM P. BARR
                                        United States Attorney General

                                        ROBERT S. BREWER, JR.
                                        United States Attorney

                                        /s/ Joseph J.M. Orabona
                                        MICHAEL G. WHEAT
                                        JOSEPH J.M. ORABONA
                                        JANAKI S. GANDHI
                                        COLIN M. MCDONALD
                                        Special Attorneys to the Attorney General




                                          15
                     UNITED STATES DISTRICT COURT
                              DISTRICT OF HAWAII
 UNITED STATES OF AMERICA,                       CR. NO. 17-00582 JMS-RLP
                     Plaintiff,                  CERTIFICATE OF SERVICE
        v.

 KATHERINE P. KEALOHA (1),
 LOUIS M. KEALOHA (2),
 DEREK WAYNE HAHN (3),
 MINH-HUNG NGUYEN (4),
 GORDON SHIRAISHI (5),
                     Defendants.


IT IS HEREBY CERTIFIED that:
      I, Joseph J.M. Orabona, am a citizen of the United States and am at least

eighteen years of age. My business address is 880 Front Street, Room 6293,

San Diego, CA 92101-8893.

      I am not a party to the above-entitled action. I have caused service of the

foregoing on all parties in this case by electronically filing the foregoing with the

Clerk of the District Court using its ECF System, which electronically notifies them.

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on June 12, 2019.

                                              /s/ Joseph J.M. Orabona
                                              JOSEPH J.M. ORABONA




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